Cas€ 0-25-/45039-asl

Fortiva Credit Card
P.O Box 650847

Dallas, Tx 75265-0847

First National Credit Card
P.O Box 2496

Omaha, NE 68103-2496

Blaze MasterCard
P.O Box 2534

Omaha, NE 67103-2534

Genesis FS Card Services

P.O Box 23039

Columbus, GA 31902-3039

Capital One

P.O Box 4069

LIST OF CREDITORS FOR CHAPTER 13.

CAS

$956.62

$621.73

$430.57

$453.74

$261.22

Carol Stream, IL 60197-4069

Capital One
Spark Business

P.O Box 6492

$956.64

Carol Stream, IL 60197-6492

TOTAL:

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